UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


JOHN DOE NO. 1; JOHN DOE NO. 2; and
NEW YORK STATE RIFLE AND PISTOL
ASSOCIATION, INC.,                                                     NOTICE OF MOTION

                                                Plaintiffs,                   16-CV-8191

                          -against-                                           KMK/LMS

PUTNAM COUNTY; and MICHAEL C.
BARTOLOTTI, in his official capacity as
Country Clerk for Putnam County,

                                               Defendants,


STATE OF NEW YORK ATTORNEY
GENERAL,

                                                  Intervenor.


       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law; the

Declarations of April Zeoli, Robert Sege, Marci Hamilton, and C. Harris Dague, with all exhibits

thereto, all prior filings with the Court; and upon all prior proceedings, Intervenor New York State

Attorney General, on May 1, 2020, on submission of the papers only, will make a motion to

Preclude the Expert Report and Opinions of William English, Ph.D. as not admissible pursuant to

the Federal Rules of Evidence and specifically FRE 702 and 703 at the Daniel Patrick Moynihan

Courthouse, United States District Court, Southern District of New York, White Plains, New York.
Dated: Albany, New York
       March 16, 2020

                                      LETITIA JAMES
                                      Attorney General of the State of New York
                                      Attorneys for Intervenor
                                      The Capitol
                                      Albany, New York 12224-0341
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      To:   Plaintiff’s counsel (via CM/ECF)
            Defendants’ counsel (via CM/ECF)
                                CERTIFICATE OF SERVICE

I hereby certify that on March 16, 2020, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, and I hereby certify that the foregoing was served upon

all counsel of record using the CM/ECF system.

                                              LETITIA JAMES
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                                              *Admitted Pro Hac Vice
